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Exhibit 12.
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For Immediate
Office of the Press ¢
February

Homeland Security Presidential Directive/HSPD-5
Subject: Management of Domestic Incidents
Purpose

(1) To enhance the ability of the United States to manage domestic incidents by establishing a single
comprehensive national incident management system.

Definitions
(2) In this directive:
(a) the term "Secretary" means the Secretary of Homeland Security.

(b) the term "Federal departments and agencies" means those executive departments enumerated ir
U.S.C. 101, together with the Department of Homeland Security; independent establishments as defi
by 5 U.S.C. 104(1); government corporations as defined by 5 U.S.C. 103(1); and the United States P
Service. a

(c) the terms "State," "local," and the "United States" when it is used in a geographical sense, have tt-
same meanings as used in the Homeland Security Act of 2002, Public Law 107-296.

Policy

(3) To prevent, prepare for, respond to, and recover from terrorist attacks, major disasters, and other
emergencies, the United States Government shall establish a single, compre-hensive approach to
domestic incident management. The objective of the United States Government is to ensure that all |
of government across the Nation have the capability to work efficiently and effectively together, using
national approach to domestic incident management. In.these efforts, with regard to domestic incider
the United States Government treats crisis management and consequence management as a single.
integrated function, rather than as two separate functions.

(4) The Secretary of Homeland Security is the principal Federal official for domestic incident manage
Pursuant to the Homeland Security Act of 2002, the Secretary is responsible for coordinating Federa
operations within the United States to prepare for, respond to, and recover from terrorist attacks, maj
disasters, and other emergencies. The Secretary shall coordinate the Federal Government's resourc
utilized in response to or recovery from terrorist attacks, major disasters,

or other emergencies if and when any one of the following four conditions applies: (1) a Federal

department or agency acting under its own authority has requested the assistance of the Secretary; |
resources of State and local authorities are overwhelmed and Federal assistance has been requeste
the appropriate State and local authorities; (3) more than one Federal department or agency has bec
substantially involved in responding to the incident; or (4) the Secretary has been directed to assume —
responsibility for managing the domestic incident by the President.

(5) Nothing in this directive alters, or impedes the ability to carry out, the authorities of Federal depar
and agencies to perform their responsibilities under law. All Federal departments and agencies shall
cooperate. with the Secretary in the Secretary's domestic incident management role.

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State and local authorities. The “itt Government will assist State and local authorities when their _

resources are overwhelmed, or when Federal interests are involved. The Secretary will coordinate w
State and local governments to ensure adequate planning, equipment, training, and exercise activitie
Secretary will also provide assistance to State and-local governments to develop all-hazards plans al
capabilities, including those of greatest importance to the security of the United States, and will ensu
State, local, and Federal plans are compatible.

(7) The Federal Government recognizes the role that the private and nongovernmental sectors play i
preventing, preparing for, responding to, and recovering from terrorist attacks, major disasters, and o
emergencies. The Secretary will coordinate with the private and nongovernmental sectors to ensure
adequate planning, equipment, training, and exercise activities and to promote partnerships to addre
incident management capabilities.

(8) The Attorney General has lead responsibility for criminal investigations of terrorist acts or terrorist
threats by individuals or groups inside the United States, or directed at United States citizens or instil
abroad, where such acts are within the Federal criminal jurisdiction of the United States, as well as fc
related intelligence collection activities within the United States, subject to the National Security Act c
1947 and other applicable law, Executive Order 12333, and Attorney General-approved procedures
pursuant to that Executive Order. Generally acting through the Federal Bureau of Investigation, the
Attorney General, in cooperation with other Federal departments and agencies engaged in activities
protect our national security, shall also coordinate the activities of the other members of the law
enforcement community to detect, prevent, preempt, and disrupt terrorist attacks against the United ‘
Following a terrorist threat or an actual incident that falls within the criminal jurisdiction of the United
States, the full capabilities of the United States shall be dedicated, consistent with United States law

' with activities of other Federal departments and agencies to protect our national security, to assistinc

Attorney General to identify the perpetrators and bring them to justice. The Attorney General and the
Secretary shall establish appropriate relationships and mechanisms for cooperation and coordinatior
between their two departments.

(9) Nothing in this directive impairs or otherwise affects the authority of the Secretary of Defense ove
Department of Defense, including the chain of command for military forces from the President as
Commander in Chief, to the Secretary of Defense, to the commander of military forces, or military
command and control procedures. The Secretary of Defense shall provide military support to civil
authorities for domestic incidents as directed by the President or when consistent with military readin
and appropriate under the circumstances and the law. The Secretary of Defense shall retain comma
military forces providing civil support. The Secretary of Defense and the Secretary shall establish
appropriate relationships and mechanisms for cooperation and coordination between their two
departments.

(10) The Secretary of State has the responsibility, consistent with other United States Government
activities to protect our national security, to coordinate international activities related to the preventio!
preparation, response, and recovery from a domestic incident, and for the protection of United States
citizens and United States interests overseas. The Secretary of State and the Secretary shall establi:
appropriate relationships and mechanisms for cooperation and coordination between their two
departments.

(11) The Assistant to the President for Homeland Security and the Assistant to the President for Nati
Security Affairs shall be responsible for interagency policy coordination on domestic and internationa
incident management, respectively, as directed by the President. The Assistant to the President for
Homeland Security and the Assistant to the President for National Security Affairs shall work togethe
ensure that the United States domestic and international incident management efforts are seamlessl
united.

(12) The Secretary shall ensure that, as appropriate, information related to domestic incidents is gat
and provided to the public, the private sector, State and local authorities, Federal departments and
agencies, and, generally through the Assistant to the President for Homeland Security, to the Preside
The Secretary shall provide standardized, quantitative reports to the Assistant to the President for
Homeland Security on the readiness and preparedness of the Nation -- at all levels of government --
prevent, prepare for, respond to, and recover from domestic incidents.

(13) Nothing in this directive shall be construed to grant to any Assistant to the President any authori
issue orders to Federal departments and agencies, their officers, or their employees.

Tasking
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orotecting our national security, to the Secretary, the Attorney General, the Secretary of Defense, an:
Secretary of State in the exercise of the individual leadership responsibilities and missions assigned

paragraphs (4), (8), (9), and (10), respectively, above.

(15) The Secretary shall develop, submit for review to the Homeland Security Council, and administe
National Incident Management System (NIMS). This system will provide a consistent nationwide app
for Federal, State, and local governments to work effectively and efficiently together to prepare for,
respond to, and recover from domestic incidents, regardless of cause, size, or complexity. To provide
interoperability and compatibility among Federal, State, and local capabilities, the NIMS will include <
set of concepts, principles, terminology, and technologies covering the incident command system; m
agency coordination systems; unified command; training; identification and management of resource
(including systems for classifying types of resources); qualifications and certification; and the collecti:
tracking, and réporting of incident information and incident resources.

(16) The Secretary shall develop, submit for review to the Homeland Security Council, and administe
National Response Plan (NRP). The Secretary shall consult with appropriate Assistants to the Presic
(including the Assistant to the President for Economic Policy) and the Director of the Office of Scienc
Technology Policy, and other such Federal officials as may be appropriate, in developing and

implementing the NRP. This plan shall integrate Federal Government domestic prevention, prepared
response, and recovery plans into one-all-discipline, all-hazards plan. The NRP shall be unclassified.
certain operational aspects require classification, they shall be included in classified annexes to the f

(a) The NRP, using the NIMS, shall, with regard to response to domestic incidents, provide the struct
and mechanisms for national level policy and operational direction for Federal support to State and Ic
incident managers and for exercising direct Federal authorities and responsibilities, as appropriate.

(b) The NRP will include protocols for operating under different threats or threat levels; incorporation
existing Federal emergency and incident management plans (with appropriate modifications and revi
as either integrated components of the NRP or as supporting operational plans; and additional opera
plans or annexes, as appropriate, including public affairs and intergovernmental communications.

(c) The NRP will include a consistent approach to reporting incidents, providing assessments, and m
recommendations to the President, the Secretary, and the Homeland Security Council.

(d) The NRP will include rigorous requirements for continuous improvements from testing, exercising
experience with incidents, and new information and technologies.

(17) The Secretary shall:

(a) By April.1, 2003, (1) develop and publish an initial version of the NRP, in consultation with other
Federal departments and agencies; and (2) provide the Assistant to the President for Homeland Sec
with a plan for full development and implementation of the NRP.

(b) By June 1, 2003, (1) in consultation with Federal departments and agencies and with State and Ic
governments, develop a national system of standards; guidelines, and protocols to implement the NI
and (2) establish a mechanism for ensuring ongoing management and maintenance of the NIMS, inc
regular consultation with other Federal departments and agencies and with State and local governme

(c) By September 1, 2003, in consultation with Federal departments and agencies and the Assistant:
- President for Homeland Security, review existing authorities and regulations and prepare
recommendations for the President on revisions necessary to implement fully the NRP.

(18) The heads of Federal departments and agencies shall adopt the NIMS within their departments
agencies and shall provide support and assistance to the Secretary in the development and mainteni
of the NIMS. All Federal departments and agencies will use the NIMS in their domestic. incidént
management and emergency prevention, preparedness, response, recovery, and mitigation activities
well as those actions taken in support of State or local entities. The heads of Federal departments ar
agencies shall participate in the NRP, shail assist and support the Secretary in the development and
maintenance of the NRP, and shall participate in and use domestic incident reporting systems and
protocols established by the Secretary.

(19) The head of each Federal department and agency shall:
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(b) By August 1, 2003, submit a plan to adopt and implement the NIMS to the Secretary and the Assi
to the President for Homeland Security. The Assistant to the President for Homeland Security shall a
the President on whether such plans effectively implement the NIMS.

_ (20) Beginning in Fiscal Year 2005, Federal departments and agencies shall make adoption of the N

requirement, to the extent permitted by law, for providing Federal preparedness assistance through ¢
contracts, or other activities. The Secretary shall develop standards and guidelines for determining w
a State or local entity has adopted the NIMS.

Technical and Conforming Amendments to.National Sécurity Presidential Directive-1 (NSPD-1)

(21) NSPD-1 ("Organization of the National Security Council System") is amended by replacing the fi
sentence of the third paragraph on the first page with the following: "The Attorney General, the Secre
of Homeland Security, and the Director of the Office of Management and Budget shall be invited to a
meetings pertaining to their responsibilities.".

Technical and Conforming Amendments to National Security Presidential Directive-8 (NSPD-8)

(22) NSPD-8 ("National Director and Deputy National Security Advisor for Combating Terrorism") is
amended by striking "and the Office of Homeland Security,” on page 4, and inserting "the Departmer
Homeland Security, and the Homeland Security Council" in lieu thereof.

Technical and Conforming Amendments to Homeland Security Presidential Directive-2 (HSPD-2)

(23) HSPD-2 ("Combating Terrorism Through Immigration Policies") is amended as follows:

_ (a) striking "the Commissioner of the Immigration and Naturalization Service (INS)" in the second ser
of the second paragraph in section 1, and Inserting "the Secretary of Homeland Security" in lieu there

(b) striking "the INS," in the third paragraph in section 1, and inserting "the Department of Homeland
Security” in lieu thereof;

(c) inserting ", the Secretary of Homeland Security," after "The Attorney General” in the fourth paragr
section 1;

(d) inserting ", the Secretary of Homeland Security," after "the Attorney: General” in the fifth paragrap
section 1;

(e) striking "the INS and the Customs Service" in the first sentence of the first paragraph of section 2
inserting "the Department of Homeland Security" in lieu thereof;

(f) striking "Customs and INS" in the first sentence of the second paragraph of section 2, and insertin
Department of Homeland Security" in lieu thereof;

(g) striking "the two agencies" in the second sentence of the second paragraph of section 2, and inse
"the Department of Homeland Security" in lieu thereof;

(h) striking "the Secretary of the Treasury" wherever it appears in section 2, and inserting "the Secret
Homeland Security” in lieu thereof;

(i) inserting ", the Secretary of Homeland Security,” after "The Secretary of State" wherever the latter
appears in section 3;

(j) inserting ", the Department of Homeland Security,” after "the Department of State,” in the second
sentence in the third paragraph in section 3;

(k) inserting "the Secretary of Homeland Security," after "the Secretary of State," in the first sentence

‘fifth paragraph of section 3;

(I) striking "INS" in the first sentence of the sixth paragraph of section 3, and inserting "Department ol
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(m) striking "the Treasury" wherever it appears in section 4 and inserting "Homeland Security’ in lieu
thereof;

(n) inserting ", the Secretary of Homeland Security,” after "the Attorney General” in the first sentence
section 5; and

(0) inserting ", Homeland Security" after "State" in the first sentence of section 6.
Technical and Conforming Amendments to Homeland Security Presidential Directive-3 (HSPD-3)

(24) The Homeland Security Act of 2002 assigned the responsibility for administering the Homeland
Security Advisory System to the Secretary of Homeland Security. Accordingly, HSPD-3 of March 11,
("Homeland Security Advisory System") is amended as follows:

(a) replacing the third sentence of the second paragraph entitled "Homeland Security Advisory Syste
with "Except in exigent circumstances, the Secretary of Homeland Security shail seek the views of th
Attorney General, and any other federal agency heads the Secretary deems appropriate, including ol
members of the Homeland Security Council, on the Threat Condition to be assigned.”

(b) inserting "At the request of the Secretary of Homeland Security, the Department of Justice shall p
and facilitate the use of delivery systems administered or managed by the Department of Justice for:
purposes of delivering threat information pursuant to the Homeland Security Advisory System.” as a
paragraph after the fifth paragraph of the section entitled "Homeland Security Advisory System."

(c) inserting ", the Secretary of Homeland Security" after "The Director of Central Intelligence" in the:
: sentence of the seventh paragraph of the section entitled "Homeland Security Advisory System".

(d) striking "Attorney Generai" wherever it appears (except in the sentences referred to in subsection
and (c) above), and inserting "the Secretary of Homeland Security" in lieu thereof; and

- (e) striking the section entitled "Comment and Review Periods."

GEORGE W. BUSH

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